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1    McGREGOR W. SCOTT
     United States Attorney
2    ANNE PINGS
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2785

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8                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,     )
11                                 )        CR. NO. S-05-238-FCD
               Plaintiff,          )
12                                 )
               v.                  )
13                                 )        STIPULATION AND ORDER
     DALE C. SCHAFER,              )        REGARDING CONTINUANCE
14   MARION P. FRY,                )        OF MOTIONS SCHEDULE
                                   )
15             Defendants.         )
     ______________________________)
16
          It is hereby stipulated and agreed, by and between the
17
     defendant Dale C. Schafer, by and through his counsel, J. Tony
18
     Serra, and defendant Marion P. Fry, by and through her counsel,
19
     Laurence J. Lichter, the United States, through its counsel,
20
     Assistant United States Attorney Anne Pings, to vacate the
21
     previously set date of March 31, 2005, for hearing on the motion to
22
     disqualify defendants' counsel and to set a new motions briefing and
23
     hearing schedule as follows:
24
          Govt. Motion Due       March 3, 2006
25
          Def. Opposition        April 7, 2006
26
          Govt. Reply            April 21, 2006
27
          Hearing                April 28, 2006 at 2:00 p.m.
28
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1         Defendant Schafer's counsel, Mr. Serra, communicated through a

2    staff person at his law office to AUSA Matthew Segal that he did not

3    oppose the modified schedule.

4         Defendant Fry's counsel, Mr. Lichter communicated directly with

5    AUSA Segal that he did not oppose the modified schedule.

6         The availability of the proposed date has been verified with

7    the Court's clerk.

8         The parties agree that time should be excluded under the Speedy

9    Trial Act given that, in addition to the motion to be filed, there

10   is at least one other motion pending before this Court in this

11   matter at this time.

12   DATED: March 1, 2006                   Respectfully submitted,

13                                          McGREGOR W. SCOTT
                                            United States Attorney
14
                                            /s/ Anne Pings
15
                                            ANNE PINGS
16                                          Assistant United States Attorney
17
     /s/ Anne Pings                         /s/ Anne Pings
18

19   For J. Tony Serra                      For Laurence J. Lichter
     Counsel for Defendant Schafer          Counsel for Defendant Fry
20   (With permission to AUSA Segal)        (With permission to AUSA Segal)

21

22        IT IS SO ORDERED.

23

24   Dated: March 1, 2006
25                                          /s/ Frank C. Damrell Jr.
                                            HON. FRANK C. DAMRELL, JR.
26                                          UNITED STATES DISTRICT JUDGE
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